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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )              8:08CR105
                     Plaintiff,                   )
                                                  )
       vs.                                        )               ORDER
                                                  )
ANDREW T. SMALLRIDGE,                             )
                                                  )
                     Defendant.                   )


       This matter is before the court on the Petition for Action on Conditions of Pretrial
Release (Petition) regarding defendant Andrew T. Smallridge (Smallridge) (Filing No. 110).
On March 28, 2008, Smallridge was ordered released upon conditions pending further
proceedings (Filing No. 61). On May 7, 2008, Pretrial Services Officer Lisa L. Caviness
submitted a Petition alleging Smallridge had violated the conditions of his release by failing
to notify designated persons of his address change, failing to report to Pretrial Services as
directed, failing to refrain from the use of alcohol, and using a controlled substance. A
warrant for Smallridge’s arrest was issued.
       Smallridge appeared before the undersigned magistrate judge on May 14, 2008.
He was represented by Julie A. Frank and the United States was represented by Assistant
U.S. Attorney Kimberly C. Bunjer. After being advised of the nature of the allegations, his
rights, and the consequences if the allegations were found to be true, Smallridge admitted
the allegations of the Petition except as to using a controlled substance. The court took
judicial notice of the Pretrial Services Violation Report and no other evidence was adduced.
The court finds the allegations of the petition are generally true and Smallridge has violated
the conditions of his release.
       After providing both parties an opportunity for allocution as to disposition and
considering the report of Pretrial Services, I find the Order Setting Conditions of Release
should be revoked. Smallridge has demonstrated he is unable to comply with rules of his
release.
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       IT IS ORDERED:
       1.     The Petition For Action on Conditions of Pretrial Release (Filing No. 110) is
granted.
       2.     The March 28, 2008, Order Setting Conditions of Release of Andrew T.
Smallridge (Filing No. 61) is hereby revoked.
       3.     The defendant is committed to the custody of the Attorney General or his
designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States marshal for the purpose of an appearance in connection
with a court proceeding.
       DATED this 14th day of May, 2008.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge




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